
23 Mich. App. 11 (1970)
178 N.W.2d 105
PEOPLE
v.
RAMSEY
Docket No. 5,736.
Michigan Court of Appeals.
Decided March 27, 1970.
Rehearing denied May 12, 1970.
Frank J. Kelley, Attorney General, Robert A. Derengoski, Solicitor General, William L. Cahalan, Prosecuting Attorney, and Arthur N. Bishop, Assistant Prosecuting Attorney, for the people.
Carl Levin and Arthur J. Tarnow (Defenders' Office  Legal Aid and Defender Association of Detroit), for defendant on appeal.
*12 Before: LESINSKI, C.J., and QUINN and V.J. BRENNAN, JJ.
PER CURIAM.
Following a nonjury trial, defendant was convicted of armed robbery.[*] This appeal concerns the availability of the intoxication defense.
At trial substantial evidence was introduced tending to establish that defendant was under the influence of narcotics at the time of the commission of the robbery. In closing, defense counsel requested that the court consider the effect of the narcotic intoxication upon defendant's specific intent to commit the armed robbery. The trial court refused, stating that armed robbery was not a specific intent crime. Upon the authority of People v. Walker (1878), 38 Mich 156, we hold that the trial court's action constituted reversible error. See, also, People v. Kelley, 21 Mich App 612.
Reversed and remanded for a new trial.
NOTES
[*]  MCLA § 750.529 (Stat Ann 1970 Cum Supp § 28.797).

